     Case: 1:23-cv-02837 Document #: 30 Filed: 10/30/23 Page 1 of 2 PageID #:77



                           1IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

ALPHARD HOLLAND,

                                   Plaintiff,       Case No.: 1:23-cv-02837

v.                                                  Honorable Mary M. Rowland

                                                    Honorable Maria Valdez
MENARD, INC.,
                                                    Magistrate Judge
                                Defendant.

                                   JOINT STATUS REPORT

       Pursuant to the Court's August 23, 2023 MINUTE entry, Plaintiff, ALPHARD HOLLAND,

and Defendant, MENARD, INC., by and through its undersigned attorneys, jointly submit the

following Status Report:

I.     Status of Discovery

       A.     (1)     Rule 26(a)(1) disclosures;

                      completed.

              (2)     issuing the first set of written discovery requests;

                      completed.

              (3)     Answers to written discovery.

                      completed.

       B.     (1) Depositions

              a. Plaintiff
              Plaintiff’s deposition was set for 10/27/23 was canceled by Defendant.        The
              deposition is now reset for 11/17/23 at 9am.

              b. Defendants
              Tony Hill, general manager – Plaintiff’s counsel has requested this deposition
              and is waiting for Defendant’s counsel to provide dates for this deposition.
              Ana Figueroa, front-end manager - Plaintiff’s counsel has requested this
              deposition and is waiting for Defendant’s counsel to provide dates for this
              deposition.


                                                1
       Case: 1:23-cv-02837 Document #: 30 Filed: 10/30/23 Page 2 of 2 PageID #:78




               Jerome Coleman, team member - Plaintiff’s counsel has requested this
               deposition and is waiting for Defendant’s counsel to provide dates for this
               deposition.


               c. Medical Providers
               None have been scheduled at present

 II.    State whether the parties request a settlement conference at this time.

 The parties do not request a settlement conference at this time.



DATED: October 30, 2023                           Respectfully submitted,

ALPHARD HOLLAND                                   MENARD, INC.

By: /s/Michael Silverman                          By: /s/ Joseph S. Davidson

Michael Silverman                                 W. Anthony Andrews
Horwitz, Horwitz and Associates                   Joseph S. Davidson
25 East Washington Street                         Ottosen DiNolfo Hasenbalg & Castaldo, Ltd.
Suite 900                                         1804 N. Naper Blvd., Suite 350
Chicago, Illinois 60602                           Naperville, IL 60563
312-372-8822                                      (630) 682-0085
silverman@horwitzlaw.com                          wandrews@ottosenlaw.com
                                                  jdavidson@ottosenlaw.com




                                                2
